       Case 1:18-cv-10150-MLW Document 15 Filed 02/08/18 Page 1 of 1
        Case l:18-cv-10150-MLW Document 14 Filed02/08/18 Page lot2



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


FABIANO MATEUS DE OLIVEIRA,

                Petitioner,
                                                    Civil Action No. 18-10150-MLW
V.



ANTONE MONIZ and,
JOSEPH D. McDonald jr.,

                Respondents.
                              PARTIES'JOINT STATUS REPORT

       Pursuant to this Court's Order of February 1,2018(Doc. 11), the parties jointly report to

this Court the following case status:

       1.      Since the parties' first request for an extension of time, the parties have continued
to confer, and are in the process offinalizing an agreement that may resolve this case without the
need for further litigation. The parties are seeking to obtain the approvals necessary for such an
agreement,and expect to exchange draft documents no later than February 9,2018. However,the
parties need further time to determine whether an agreement to resolve this case is possible.
        2.     Accordingly,the parties seek a second,one-week extension oftime for briefing and
a hearing, if necessary. The parties respectfully request that this Court enter an Order that.
               (a)     Petitioner shall, by February 16, 2018, file a memorandum and affidavit(s)
        in support ofthe petition;

               (b)     Respondents shall, by February 19, 2018, file a memorandum and
        affidavit(s) in opposition to the petition; and
               (c)     A hearing on the petition will be scheduled by this Court at a later date to
        be determined by this Court, ifrequired.                                                       i ^
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